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CaseNo. CV 03-2213-JFW (RCx) Date: March 23, 2004
Title: COMCAST OF LOS ANGELES, INC., et al. -v- TOP END INTERNATIONAL, INC., et
al.
DOCKET ENTRY
AS REQUIRED BY FRCP, RULE 77(d).
PRESENT: cs ,
HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE
Shannon Reilly None Present
Courtroom Deputy Court Reporter
ATTORNEYS PRESENT FOR PLAINTIFFS: ATTORNEYS PRESENT FOR DEFENDANTS:
None None

PROCEEDINGS (INCHAMBERS): | ORDER DENYING MOTION OF PLAINTIFFS TO
RE-OPEN ACTION [filed 2/27/04]

On February 27, 2004, Plaintiffs filed a Motion to Re-Open Action. On March 18, 2004,
Defendants filed a Statement of No Opposition to the Motion of the Plaintiff [sic] to Re-Open this
Case. Pursuant to Rule 78 of the Federal Rules of Civil Procedure and Local Rule 7-15, the Court
finds that this matter is appropriate for decision without oral argument. The hearing calendared for
March 29, 2004 is hereby vacated and the matter taken off calendar. After considering the
moving, opposing, and reply papers and the arguments therein, the Court rules as follows:

On December 3, 2003, the parties held a settlement conference with Magistrate Judge
Rosalyn M. Chapman during which the parties reached a settlement of the action. The parties
placed the terms of the settlement on the record before the Magistrate Judge with the
understanding that those terms would be reduced to a written settlement agreement. In light of
the settlement of the parties, on January 22, 2004, this Court dismissed the action, “without
prejudice to the right, upon good cause shown within 30 days, to re-open the action if settlement is
not consummated.” See Jan. 22, 2004 Order. Accordingly, the parties had until February 23,
2004 to file a motion requesting that the Court re-open the action for good cause shown. Plaintiffs
did not file their Motion to Re-Open Action until February 27, 2004 - four days after the deadline to
re-open the action had passed. Plaintiffs’ Motion is therefore untimely. Moreover, even if
Plaintiffs’ Motion to Re-Open Action had been filed within the 30 day time frame, Plaintiffs have
failed to demonstrate goor cause as required by the Court’s January 22, 2004 Order.

CLERK. u s. “DISTRICT COURT

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Accordingly, Plaintiffs’ Motion to Re-Open Action is DENIED. . “3 -

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IT IS SO ORDERED. =
The Clerk shall serve a copy of this Minute Order on all parties to this action. +.

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